                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF MISSOURI
                                 WESTERN DIVISION

MARISSA D. HERMSEN,                            )
                                               )
On behalf of herself and                       )
all other persons similarly situated,          )
                                               )
       Plaintiffs,                             )
                                               )
vs.                                            )       Case No.: 4:11-CV-00753--BP
                                               )
CITY OF KANSAS CITY,                           )
MISSOURI,                                      )
                                               )
       Defendant.                              )
                                               )
                                               )

 PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT AS TO LIABILITY

       COME NOW the Plaintiffs, on behalf of themselves and all other employees similarly

situated, and hereby move for Partial Summary Judgment.

       In order to be exempt from the FLSA’s overtime requirements, the City must prove, as a

matter of law, that that paramedics and EMTs “plainly and unmistakably” have a “real

responsibility” to engage in fire suppression to qualify for the firefighter exemption. However, as

set forth in Plaintiffs’ Suggestions in Support of their Motion for Partial Summary Judgment, it

cannot be disputed that:


              EMTs and paramedics did not have the legal authority to engage in fire

               suppression prior to August 1, 2011.

              Firefighters have stringent physical requirements; Plaintiffs do not.

              Firefighters endure hundreds of hours of training that is essential to allow them to

               fight fires; Plaintiffs received 40 hours of training.




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             Firefighters must demonstrate proficiency in all firefighting skills or they are not

              able to have a “suppression” role; Plaintiffs have no such skill test.

             Firefighters extinguish fires; Plaintiffs are trained and have the responsibility to

              provide fire combat support.

             Plaintiffs are not dual function firefighters.

             Plaintiffs carry no firefighting equipment or fire safety equipment.

             Plaintiffs are not allowed in the hot zone of a fire.

             Plaintiffs’ primary role is providing medical support at the scene of emergencies,

              including fires.

             Plaintiffs rarely engage in “fire combat support”. Defendant can only identify

              two occasions where EMTs or paramedics actually performed “fire combat

              support.”

             The Paramedics and EMTs who are scheduled to work 40 hour weeks for

              defendant do receive overtime when they work more than 40 hours; the only

              difference between those paramedics and EMTS and Plaintiffs working 24 hours

              shifts is the schedule to which they are assigned.




       By this Motion, plaintiffs respectfully request this Court issue an Order finding that as a

matter of law current and former EMTs and Paramedics are not exempt from the right to receive

overtime compensation. In support of this motion, plaintiffs are simultaneously filing a

Memorandum of Law dated January 7, 2014, as well as other exhibits. Those supporting papers

along with plaintiff’s complaint (Docket # 1) are hereby incorporated and made a part of this

motion.



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                     Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       A true and accurate copy of the above and foregoing was served, via the court’s

electronic filing system this 7th day of January, 2014 to:

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ATTORNEY FOR DEFENDANT


                                                      /s/ Michael Hodgson
                                                      Michael Hodgson




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